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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 HE DEPU, et al.,

                               Plaintiffs,
                                                           Case No. 17-0635 (RDM)
                       v.
                                                            Judge Randolph D. Moss
 OATH HOLDINGS, INC., et al.,

                               Defendants.


                                     PROPOSED ORDER

       Upon consideration of the plaintiffs’ motion for attorneys’ fees, expense reimbursement,

and service awards to the individual plaintiffs, the Court hereby GRANTS the motion and

ORDERS as follows:

       •   The plaintiffs’ counsel of Farra & Wang PLLC and Slarskey LLC are hereby awarded
           30% of the $5,425,000 settlement amount in attorneys’ fees;

       •   The plaintiffs’ counsel of Farra & Wang PLLC and Slarskey LLC are hereby awarded
           an additional amount of $182,950.77 in expense reimbursement; and

       •   The plaintiffs are hereby each awarded service awards in the amount of $55,000 for
           He Depu, and $50,000 each for Li Dawei, Wang Jinbo, Ouyang Yi, Xu Yonghai, and
           Xu Wanping.

       The plaintiffs’ lead counsel, Mr. Times Wang, is responsible for and authorized to

effectuate the disbursement of these awards.


                                                   __________________________________
                                                          RANDOLPH D. MOSS
                                                    UNITED STATES DISTRICT JUDGE
